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       Exhibit A
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                                   Plaintiff,

                              v.                             CIVIL ACTION
                                                             NO. 1:20-cv-12080-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts,

                                   Defendant.


                            AFFIDAVIT OF MICHELLE K. TASSINARI

       I, Michelle K. Tassinari, on oath depose and state on personal knowledge and based on

my review of the records of the Elections Division of the Office of the Secretary of the

Commonwealth of Massachusetts (hereinafter, “the Elections Division”) as follows:

       1.      I am the director and legal counsel to the Elections Division. I have been legal

counsel since April 2000 and director since 2005. As such, I have personal knowledge of the

matters set forth herein.

       2.      The Office of the Secretary of the Commonwealth through the Elections Division

is responsible for administration of state and presidential primaries and elections in the

Commonwealth of Massachusetts, including, among other things, responsibility for the printing

of nomination papers, the receipt of certified nomination papers, the printing of candidate lists

and ballots, both official, early and absentee, certification of state primary results and

compilation of state election results.

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       3.      I am familiar with the candidacy of Shiva Ayyadurai for United States Senate,

first as a Republican candidate in the September 1, 2020 primary election, and then as a write-in

candidate for the November 3rd General Election.

       4.      Following the September 1 primary, on September 9, 2020, the Elections Division

received a public records request from Ayyadurai for: “(1) All Scanned Digital Ballot Images

from all jurisdictions in Massachusetts pertaining to the September 1, 2020, State Primary; (2)

All Cast Vote Records (CVRs) from all jurisdictions in Massachusetts pertaining to the

September 1, 2020 , Massachusetts State Primary; and (3) The List of Vote Records (LVR), also

called the Vote Cast Log, Cast Ballot Log, or other designation, from all jurisdictions in

Massachusetts pertaining to the September 1, 2020, Massachusetts State Primary.” On

September 21, 2020, Ayyadurai filed a “follow up” to his request in which he reiterated his

request, apparently under the mistaken belief that a response to his request was due within 10

calendar days instead of 10 business days.

       5.      At 10:47am on September 24, I responded to Ayyadurai by email, informing him

that no responsive records existed and that no ballot images existed because the certification of

voting equipment in Massachusetts prohibits the capturing of ballot images. Ayyadurai

responded seeking a citation for the prohibition on capturing ballot images. I responded again at

11:44 am on September 25, attaching copies of the certification for two different types of digital

scan equipment in Massachusetts (which, in any event, are not used by every municipality in

Massachusetts – some do not use scanning equipment to tabulate ballots).

       6.      In Massachusetts, all voters mark their votes on a paper ballot. This includes

disabled voters who may opt to use an AutoMark machine at their polling location to assist them
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in marking their ballot. There are, however, different methods used for tallying those paper

ballots.

           7.    For the 2020 State Primary Election held on September 1 and the 2020 Statewide

General Election held on November 3, 59 municipalities hand counted their paper ballots and the

remaining 292 used an electronic tabulator to count votes on their paper ballots. 73

municipalities used Accuvote voting machines, 7 municipalities used Optech voting machines,

37 municipalities used DS200 voting machines and 175 used Imagecast voting machines. These

four machines are the only machines certified and being used in Massachusetts elections.1

           8.    In accordance with state law and regulation, before any voting equipment can be

used in Massachusetts, it must be federally certified and thereafter approved by the Secretary’s

Office. Equipment must first be submitted for an office demonstration and be successfully used

in two field tests before it can be approved for general use. During the office demonstration,

staff from the Elections Division mark multiple ballots, tally those votes by hand, deposit them

into the tabulator and then compare the hand count to the machine count for accuracy and to

ensure there are no anomalies. Once equipment is certified by the Secretary’s Office, any city or

town can vote to use it to count votes at any elections.

           9.    Voting equipment used in Massachusetts does not create or store ballot images.

Of the equipment listed in Paragraph 7, only the Imagecast and the DS200, which fall into the

category of digital scanning machines, have the technological capacity to create digital ballot

images. However, as a condition of certification in Massachusetts, that functionality must be



1
 Both the Imagecast and DS200 have compatible high-speed scanners that are certified for use in Massachusetts at a
central tabulation facility for processing early voting ballots in accordance with applicable regulations.
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disabled. I have confirmed with the vendors of the Imagecast and DS200 voting equipment that

the scanning functionality was disabled for the September 1st State Primary and November 3rd

General Election and that no ballot images were created. Both the Imagecast and the DS200 read

the completed vote indicators, which are ovals filled in by the voter next to their choices on the

paper ballots. Accuvote and Optech voting machines are not digital scanners but rather are

optical scanners that do not have the technological capability to create an image of a ballot; they

merely scan paper ballots for marked vote indicators and tabulate those vote indicators. For

Accuvote machines, the vote indicator is an oval that the voter fills in, and for Optech machines,

the vote indicator is an arrow that the voter must complete. The voting equipment used in

Massachusetts meets the federal standards, as certified by an independent testing lab, that require

recording each vote precisely as indicated by the voter and producing an accurate report of all

votes cast, and does not “weight” votes.

       10.     The paper ballots for each election are the official records of the votes cast in that

election, and are maintained by local election officials as required by law. For federal elections,

like the September 1st State Primary and the November 3rd General Election, the cast ballots have

been sealed and will remain sealed and secured for 22 months following the date of each

respective election.

       11.     The Secretary’s Office is responsible for printing ballots for the state primaries

and election. Ballots used for voters voting absentee or early, either in-person or by mail, have

the words “Early/Absentee Official Ballot” printed in the header. Ballots used for voters voting

at a polling place on Election Day only reference “Official Ballot.” However, the remainder of

the information contained on those ballots are identical, including candidate names and timing
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marks used by the equipment to read the votes. Accordingly, none of the four types of voting

machines certified for use in Massachusetts distinguish between votes cast using these two types

of ballots.

        12.    By regulation, all voting machines are tested before each and every election.

Local election officials must mark at least 50 ballots for each precinct (in a primary, local

election officials must mark at least 50 ballots per party for each precinct), which must be hand

counted, deposited into the tabulator and then the results from the hand count compared to the

machine count. This testing process is performed in public and notice is posted at least 3 days in

advance. If, during the testing process, there are any problems, including tabulation errors and/or

mechanical failures, the local election official is required to report those errors to the Secretary’s

office. The Elections Division did not receive any reports of tabulation errors, inaccuracies or

mechanical failures from testing done before the September 1st State Primary or the November

3rd General Election.

        13.    After the close of polls on Election Night, municipalities that use tabulator

machines print the tapes which contain the total votes counted for the precinct at which each

tabulator was used. Those totals are then included in a total tally sheet, on which election

officials also record votes cast on any ballots that could not be read by the tabulator and are

hand-counted, as well as any write-in votes, which are also hand-tallied. Those precinct level

totals are combined to create a total tally for each city and town. Votes are not counted

separately by how they were cast, i.e., using an absentee or early ballot or on Election Day.

        14.    The Imagecast and the DS200 machines are capable of generating a “Cast Vote

Record,” but only if the municipality has purchased additional software, which is not required by

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the Secretary’s Office or by the certification standards set forth in regulation. The Accuvote and

Optech voting machines cannot produce such records, even with additional software.

       15.     After each presidential election, post-election audits are conducted in

Massachusetts. State law requires that the ballots cast in 3% of precincts statewide – this year,

66 precincts -- be hand counted. Those precincts are selected in a public, non-computerized,

random drawing that occurred this year on November 5, 2020. As required by law, the selected

precincts hand counted their ballots for offices of Electors for President and Vice President,

Senator in Congress, Representative in Congress, Senator in General Court, and Representative

in General Court, as well as one of the state-wide ballot questions, which was also chosen during

the drawing.

       16.     In 2016, 99.16% of the votes recorded on Election Day were the same as during

the audit. In 2016, local election officials reported that they believed that some of the difference

may have come from human error during the audit. In particular, local election officials believed

that at least some of the discrepancies came from different judgment calls in determining the

intent of the voter made during the audit than on election night by poll workers.

       17.     In 2020, of the 66 precincts audited, 100,349 cast ballots were counted on

Election Night and local election officials reported that they counted 100,422 ballots during the

post-election audit, which resulted in 73 additional ballots being counted among all 66 precincts.

The additional 73 ballots account for 0.07% of ballots audited. Of the 66 precincts audited, 47

reported no changes in the number of ballots cast, while 14 precincts reported changes of fewer

than 5 ballots, likely due to tabulator jams and poll worker error in reading the message on the

tabulator indicating whether or not the jammed ballot had been counted. The majority of the
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additional ballots were identified in 4 audited precincts in which local election officials reported

that the poll workers failed to tally a small number of ballots not read by the machine, which

should have been hand-counted by the poll workers on Election Night. In one precinct, a

difference of 12 fewer ballots in the audit may be the result of poll workers incorrectly tallying

votes for every office on ballots containing write-in votes, rather than counting only the write-in

votes for the offices not already counted by the tabulator.

       18.     In the post-election audit reports from both 2016 and 2020, the local election

officials reported that many errors were attributed to ballots being marked contrary to

instructions, ballots being incorrectly hand-tallied by poll workers, or ballots not being tallied on

Election Night as they should have been.

       19.     Relevant to Plaintiff’s claims, this year’s audit resulted in candidate Markey

receiving an additional 81 votes, candidate O’Connor receiving 28 fewer votes, and Plaintiff

receiving 88 additional votes. The report noted that:

       The number of votes reported on Election Night as “All Others” was reduced by
       60 and the blank votes were reduced by 81. It is likely that write-in candidate
       SHIVA AYYADURAI gained additional votes during the audit that were on
       ballots not segregated by the tabulator because voters did not fill in the vote
       indicator next to the write-in space, and poll workers failed to categorize write-in
       votes for the candidate separately from “All Others.”


       20.     The audit results did not differ from the initial results in any systemic or

consistent way, as one would expect to see if tabulators were being employed improperly (for

example, using weighted calculations).

       21.     After each primary and election, candidates can petition for a recount and request

that the ballots be counted by hand. Candidates who receive total votes within one half of one
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percent of the votes received by the winner may request a statewide or district-wide recount by

filing a petition signed by one-fourth the number of voters required to sign nomination papers for

state primary candidates as set forth in state law. Candidates who do not fall within that margin

may request precinct level recounts by filing petitions signed by 10 registered voters in each

precinct of a town, 10 registered voters in each ward of a city, except Boston, which requires 50

voter signatures per precinct. As set forth in section 88 of chapter 142 of the Acts of 2019, for

the September 1st State Primaries, the deadline to file petitions for recounts was 5:00 p.m. on

September 4, 2020. As set forth in section 135 of chapter 54 of the General Laws, the deadline to

file recount petitions for the November 3rd General Election was 5:00 p.m. on November 13,

2020.

        22.    For all elections, including the September 1st State Primaries and the November

3rd General Election, each city and town uses a paper voter list to record voters who are voting.

This list contains the names and addresses of eligible voters for each precinct. The list is marked

for each voter participating in the election. For a primary election, local election officials must

also record the party ballot selected by voters not enrolled in a party.

        23.    After each primary and general election, the local election officials use those

paper voter lists to update voter activity in the statewide database of registered voters. This

information can be updated manually or by scanning a barcode printed on the voter list. There

are often some small discrepancies between the number of voters checked on the paper list and

the number of names contained on an electronic file produced after the data is entered in the

statewide database. These discrepancies can be caused by inaccurate scanning, failing to save

progress as data is entered, or inability to scan in primaries. For example, if a voter is not
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enrolled in a party and votes in a primary, but the local election official did not record the party

ballot chosen by that voter, the local election official will be unable to update the voter activity.

       24.     The discrepancy in the electronic list provided to the Defendant from the City of

Boston is easily explained. When the data was requested and provided to the Defendant, the City

of Boston had not finished updating the voter activity from the paper lists using the process

described above.

       25.     Just as the paper ballots are the official records from the election, the original

voter lists used in each city and town are the official records of the election and will be retained

for 22 months following a federal election.

       26.     Under the provisions of section 115 of chapter 54 of the General Laws, the

Secretary’s Office “shall lay before the governor and council the copies of the votes cast” for

senators and representatives in congress, councillors, senators and representatives in the general

court, register of probate and sheriff, which are thereafter certified by the governor and council

in accordance with section 116.

       27.     In keeping with this statutory requirement, the Secretary's Office transmitted a

“Return of Votes” book to the Governor’s Council setting forth totals and a city/town breakdown

of all results from the November 3 general election on Tuesday, November 24, 2020. On

Wednesday, November 25, 2020, the Governor’s Council voted to certify these results.

       28.     On November 30, 2020, Governor Baker signed, and the Secretary attested to, a

“Certificate of Election” stating that Edward J. Markey was duly elected as Senator in Congress

for Massachusetts, as required by federal law and the Senate Rules. That certificate was



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transmitted to the President of the United States Senate on December 1, 2020. A copy of the

certificate and letter of transmittal are attached.




Signed under the pains and penalties of perjury this 4th day of December, 2020.



                                                /s/ Michelle K. Tassinari
                                                Michelle K. Tassinari
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